                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND

STATE OF RHODE ISLAND; STATE           )
OF NEW YORK; STATE OF HAWAI‘I;         )
STATE OF ARIZONA; STATE OF             )
CALIFORNIA; STATE OF                   )
COLORADO; STATE OF                     )
CONNECTICUT; STATE OF                  )
DELAWARE; STATE OF ILLINOIS;           )
STATE OF MAINE; STATE OF               )
MARYLAND; COMMONWEALTH OF              )
MASSACHUSETTS; PEOPLE OF               )
THE STATE OF MICHIGAN; STATE           )
OF MINNESOTA; STATE OF                 )
NEVADA; STATE OF NEW JERSEY;           )
                                       )
STATE OF NEW MEXICO; STATE OF
                                       )
OREGON; STATE OF VERMONT;
                                       )
STATE OF WASHINGTON; STATE             )
OF WISCONSIN,                          )
                                       )
         Plaintiffs,                   )
                                       )
         v.                            )   C.A. No. 1:25-cv-128-JJM-LDA
                                       )
DONALD J. TRUMP, in his official       )
capacity as President of the United    )
States; INSTITUTE OF MUSEUM            )
AND LIBRARY SERVICES; KEITH E. )
SONDERLING, in his official capacity )
                                       )
as Acting Director of the Institute of
                                       )
Museum and Library Services;           )
MINORITY BUSINESS AND                  )
DEVELOPMENT AGENCY; MADIHA )
D. LATIF, in her official capacity as  )
Deputy Under Secretary of Commerce     )
for Minority Business Development;     )
HOWARD LUTNICK, in his official        )
capacity as Secretary of Commerce;     )
FEDERAL MEDIATION AND                  )
CONCILIATION SERVICE;                  )
GREGORY GOLDSTEIN, in his official )
capacity as Acting Director of the     )
                                       )
Federal Mediation and Conciliation
                                       )
Service; OFFICE OF MANAGEMENT             )
AND BUDGET; RUSSELL T.                    )
VOUGHT, in his official capacity as       )
Director of the Office of Management      )
and Budget,                               )
                                          )
                                          )
       Defendants.

                           MEMORANDUM AND ORDER

JOHN J. MCCONNELL, JR., United States District Court Chief Judge.

      Once again, this Court is confronted with a legal challenge by various states,

against an Executive Order that attempts to dismantle congressionally sanctioned

agencies and ignores congressionally appropriated funds. Here, the targeted federal

agencies support our libraries, museums, minority business enterprises, and the well-

respected federal mediation services.         This Executive Order violates the

Administrative Procedures Act (“APA”) in the arbitrary and capricious way it was

carried out. It also disregards the fundamental constitutional role of each of the

branches of our federal government; specifically, it ignores the unshakable principles

that Congress makes the law and appropriates funds, and the Executive implements

the law Congress enacted and spends the funds Congress appropriated.

      Plaintiffs are twenty-one states (the “States”) who move for a preliminary

injunction,1 seeking to restrain the Defendants from implementing the President’s

Executive Order 14238, “Continuing the Reduction of the Federal Bureaucracy”

(“Reduction EO”), as it applies to three federal agencies—the Institute of Museum



      1 The States initially moved for a temporary restraining order but, upon the

parties’ stipulation, that motion was converted to one for a preliminary injunction.
See ECF No. 31; see also Text Order, Apr. 10, 2025 (entering the parties’ stipulation).

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and Library Services (“IMLS”), the Minority Business Development Agency

(“MBDA”), and the Federal Mediation and Conciliation Service (“FMCS”). ECF No. 3.

The States assert that the Defendants’ efforts to carry out the Reduction EO’s

mandates violate: (1) the APA; (2) Separation of Powers principles; and (3) the Take

Care Clause of the United States Constitution. Id. at 2. The Defendants oppose the

motion on various jurisdictional grounds and assert that the States have not satisfied

the elements required for entitlement to preliminary relief. ECF No. 41. For the

reasons stated below, the Court GRANTS the States’ motion.

I.    BACKGROUND

      The Court will first provide some exposition on the three congressionally

created agencies at the center of this dispute—IMLS, MBDA, and FMCS—before

outlining the travel of the case.

      A. The Agencies

             1. IMLS

      In 1996, Congress established IMLS as an agency within the National

Foundation on the Arts and Humanities. 20 U.S.C. § 9102. The agency’s mission is

to “to advance, support, and empower America’s museums, libraries, and related

organizations through grantmaking, research, and policy development.” INST. OF

MUSEUM     AND   LIBR. SERVICES,     FY 2022-2026 STRATEGIC PLAN 3 (2022),

https://www.imls.gov/sites/default/files/2022-02/imls-strategic-plan-2022-2026.pdf.

Per statute, ILMS must have an Office of Museum Services and an Office Library

Services. 20 U.S.C. § 9102(b). IMLS must also “regularly support and conduct, as




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appropriate, policy research, data collection, analysis and modeling, evaluation, and

dissemination of information to extend and improve the Nation’s museum, library,

and information services.” Id. § 9108(a). The agency is also tasked with disbursing

and expending appropriated funds and other forms of assistance to support museums

and libraries across U.S. states and territories. Id. §§ 9121-9165 (libraries), §§ 9171–

9176 (museums). IMLS administers several competitive grant programs each year.

See, e.g., id. § 9165 (Laura Bush 21st Century Librarian Program); id. § 9161 (Native

American Library Services Grant Program); id. § 9162 (National Leadership Grants

for Libraries Program).

             2. MBDA

      In 2021, Congress created MBDA as an agency within the Department of

Commerce. 15 U.S.C. § 9502. The agency’s purpose is to “promote the growth, global

competitiveness, and the inclusion of minority-owned businesses through data,

research, evaluation, partnership programs, and federal financial assistance

programs.” U.S. DEP’T OF COMMERCE, MBDA, FISCAL YEAR 2025 CONGRESSIONAL

JUSTIFICATION     16      (2024),   https://www.commerce.gov/sites/default/files/2024-

03/MBDA-FY2025-Congressional-Budget-Submission.pdf. The Under Secretary of

Commerce for Minority Business heads the MBDA. 15 U.S.C. § 9502(b)(1).

      The MBDA Business Center Program is a program under the MBDA, id.

§ 9523(a)(1), that creates “a national network of public-private partnerships” to: (1)

help minority business enterprises with “accessing capital, contracts, and grants” and

“creating and maintaining jobs”; (2) “provide counseling and mentoring to minority




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business enterprises”; and (3) “facilitate the growth of minority business enterprises

by promoting trade.” Id. § 9522.     Under the MBDA Business Center Program, the

MBDA Under Secretary must “make Federal assistance awards to eligible entities to

operate MBDA Business Centers”—which are tasked with providing “technical

assistance and business development services, or specialty services, to minority

business enterprises.” Id. § 9523(3). Tangentially related to the MBDA Business

Centers is the MBDA’s Office of Business, which is administered by a Director. Id.

§ 9502(d)(2).

                3. FMCS

      FMCS is the oldest of the three agencies, established by Congress in the Taft-

Hartley Act of 1947. See Labor Management Relations Act, 1947, Pub. L. No. 80-101,

§ 202, 61 Stat. 136. Congress charged this agency with “assist[ing] parties to labor

disputes in industries affecting commerce to settle such disputes through conciliation

and mediation.” 29 U.S.C. § 173(a). Thus, the statute instructs FMCS to perform a

wide range of functions related to resolving labor disputes, including: (1) conducting

grievance mediations as a “last resort and in exceptional cases” to resolve “disputes

arising over the application or interpretation of an existing collective-bargaining

agreement,” id. § 173(d), and (2) providing labor mediation and conciliation services

“to assist parties to labor disputes affecting commerce to settle such disputes,” see id.

§ 173(a)-(c). FMCS also provides other services to facilitate the resolution of labor

such as “appoint[ing] arbitration panels and arbitrators; conduct[ing] skills

development and conflict resolution training; and verif[ying] signed union




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authorization cards when employers agree to use that method to recognize a union.”

ECF No. 1 ¶ 124.

      B. Executive Order 14238

      On March 14, 2025, the President issued the Reduction EO, which directs

seven federal agencies—including IMLS, MBDA, and FMCS—to: (1) eliminate their

“non-statutory components and functions . . . to the maximum extent consistent with

applicable law,” and (2) “reduce the performance of their statutory function and

associated personnel to the minimum presence and function required by law.” Exec.

Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025). The Reduction EO

instructs the head of each of these agencies to submit, within seven days, a report to

the Director of the Office of Management and Budget (OMB) “confirming full

compliance with this order and explaining which components or functions of the

government entity, if any, are statutorily required and to what extent.” Id. § 2(b).

Further, the Reduction EO outlines that, upon review of budget requests these

agencies submit, the OMB Director “shall, to the extent consistent with applicable

law and except insofar as necessary to effectuate an expected termination, reject

funding requests . . . to the extent they are inconsistent with this order.” Id. § 2(c).

      A day after issuing the Reduction EO, the President signed the Full-Year

Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, 139 Stat. 9

(2025)—in which Congress funded IMLS, MBDA, and FMCS through September 30,

2025 at the same level it funded these agencies in fiscal year 2024.                  See

Continuing Appropriations Act § 1101(a)(2), (8). In 2024, Congress appropriated:




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(1) $294,800,000 to IMLS “[f]or carrying out the Museum and Library Services Act of

1996 and the National Museum of African American History and Culture Act,”

Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. 4, 138

Stat. 460; (2) appropriated $53,705,000 to FMCS “to carry out the functions vested in

it by the” Taft-Hartley Act, id.; and (3) $68,250,000 “[f]or necessary expenses of the

Minority Business Development Agency in fostering, promoting, and developing

minority business enterprises, as authorized by law.” Id., Pub. L. No. 118-42, div. C,

tit. 1.

          C. Impact of Executive Order 14238

          Since the issuance of the Reduction EO, leadership of IMLS, MBDA, and FMCS

have taken several actions in furtherance of the EO’s mandates. At IMLS, the

agency’s leadership held an agency-wide town hall in which they informed employees

that: (1) they anticipated the agency would be stripped “down to the studs”; (2)

employees should anticipate dismissal soon; and (3) a reduction in force (“RIF”) plan

would likely be implemented soon thereafter. ECF No. 3-40 ¶ 6. A few weeks later,

IMLS’s Director of Human Resources told staff that the “entirety of IMLS” would be

placed on administrative leave and all IMLS grants would be terminated, “with the

potential exception of the Grants to States Program.” Id. ¶ 11.

          Additionally, the Director of Human Resources indicated that all but a handful

of staff members should expect a RIF in 30 days or less. Id. That same day, IMLS

emailed state librarians notifying them that “IMLS received word that all staff are

going to be placed on administrative leave,” and staff accordingly would “not be able




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to work or respond to your emails.” ECF No. 1-2. IMLS later recalled twelve staff

members from administrative leave. ECF No. 3-40 ¶ 15. Prior to the significant

reduction in personnel, thirty-five employees were charged with administering

IMLS’s grant programs. Id. ¶ 17. Only four of the twelve employees recalled from

administrative leave have grant administering experience, of whom only one

administered the Grants to States Program. Id. ¶ 20. Further, none of the twelve

employees works in IMLS’s Office of Research and Evaluation, rendering it

essentially defunct. Id. ¶ 22. And as of now, IMLS has terminated well over 1,000

grants—with the same boilerplate notice letter stating that the grant was “‘no longer

consistent with the [agency’s] priorities’ and that the President’s March 14, 2025,

executive order ‘mandates that the IMLS eliminate all non-statutorily required

activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF Nos. 35-5 at 10-11, 35-6

at 6-7, 35-8 at 5-20, 35-9 at 4-5 (IMLS grant termination letters that grantees

received).

      As to MBDA, the agency placed all but five of its employees2 on paid

administrative leave shortly after the Reduction EO’s issuance. ECF No. 3-41 ¶ 5.

And now, those five employees have since been reassigned to positions outside the

MBDA. ECF No. 35-4 ¶ 5. MBDA also announced that it was implementing a RIF.

ECF No. 1-3. And the agency appears to have since terminated all preexisting MBDA




      2 Those remaining employees are the Deputy Under Secretary of Commerce for

Minority Business Development, the Chief Operating Officer, the Chief of the Office
of Legislative, Education, and Intergovernmental Affairs, a senior advisor, and a
budget analyst. See ECF No. 3-41 ¶ 5.

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grant awards in furtherance of the Reduction EO. See ECF No. 45-1 ¶ 4; see also

ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-6 at 2. The staff

terminated include employees responsible for maintaining MBDA’s informational

clearinghouse, which is central to the agency’s statutorily mandated responsibility to

collect and share data related to minority enterprise. ECF No. 3-41 ¶ 13. Further,

the agency has ceased several programs and services, including its Minority Business

Advisory Council. Id.

       Lastly, FMCS placed almost all of its over 200 employees on administrative

leave in the aftermath of the Reduction EO’s issuance. ECF No. 3-42 ¶ 4-7. Now,

only about ten to fifteen FMCS employees—all of whom are based in the agency’s

D.C. headquarters—remain on the job. See ECF No. 3-26 ¶ 17. And FMCS has

started a RIF plan to terminate all but those ten to fifteen remaining employees.

ECF No. 3-42 ¶ 7; see also Jory Heckman Federal labor mediation agency cuts staff

down    to   ‘skeleton    crew’   (Mar.    26,    2025),   FED.    NEWS     NETWORK,

https://federalnewsnetwork.com/workforce/2025/03/federal-labor-mediation-agency-

cuts-staff-down-to-skeleton. Additionally, because the agency has only a fraction of

its personnel remaining, it appears that “[n]early all of services [FMCS had]

provided—mediation for collective bargaining, grievances, employment disputes,

EEOC complaints, and trainings with both unions and management to promote labor

peace—are no longer going to be provided.” Heckman, supra.




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      It is these series of actions the Defendants have taken to implement the

Reduction EO as to IMLS, MBDA, and FMCS, that has prompted the States to seek

a preliminary injunction enjoining the Defendants from giving effect to that EO.

II.   STANDARD OF REVIEW

      “A request for a preliminary injunction is a request for extraordinary relief.”

Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary

injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

(2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

whether the plaintiffs have met the most important requirement of likelihood of

success on the merits, a court must keep in mind that the merits need not be

“conclusively determine[d];” instead, at this stage, decisions “are to be understood as

statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

plaintiffs must show ‘more than mere possibility’ of success–rather, they must

establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

2010)).




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III.   DISCUSSION

       A. Jurisdiction

             1.     Standing

       The Defendants argue that the States lack standing to seek relief that would

prohibit OMB from implementing the Reduction EO with respect to the four other

agencies that are included in that Order but are not the subject to this lawsuit. ECF

No. 41 at 9. But the States do not dispute that they cannot seek relief as to those four

agencies not included in their Complaint. ECF No. 44 at 4. Instead, the States affirm

that the claims outlined in their Complaint and preliminary injunction motion

encompass the “Defendants’ actions as to the IMLS, MBDA, and FMCS.” Id. Thus,

while the States’ request that the Court enjoin the Defendants from “implementing

the Closure Order and the Closure Decisions” can admittedly be read as all

encompassing, see ECF No. 1 at 53, the States have made it clear that the specific

relief they seek is for the Court to enjoin the Defendants from implementing the

Reduction EO as to the IMLS, MBDA, and FMCS. See ECF No. 3 at 2 (“Plaintiff

States move for issuance of an order . . . restraining Defendants from implementing

actions in accordance with [the Reduction EO] as they relate to the Institute of

Museum and Library Services (IMLS), the Minority Business Development Agency

(MBDA), and the Federal Mediation and Conciliation Service (FMCS) . . ..”) (emphasis

added); see also Tr. of Prelim. Inj. H’rg. 43, ECF No. 48 (States explaining that “the

relief that we’re seeking is to enjoin the closure decisions and to enjoin these three




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agencies’ application and implementation of the Executive Order.”). Accordingly,

equitable relief against non-parties is not at issue here.

             2.     Ripeness

      Next, the Defendants contend that nearly all the States’ claims of potential

injury from “future delays or failure to receive IMLS, MBDA, and FMCS funds and

services” are speculative and thus are not ripe for the Court’s review. ECF No. 41

at 11. But the unrefuted record before the Court reveals that the States are relying

on more than mere speculation when asserting harms—current or imminent—

stemming from the Defendants’ efforts to significantly reduce agency services and

personnel under the Reduction EO.        For example, on April 9, 2025, an MBDA

employee received a RIF notice from the Office of the Deputy Secretary of Commerce

that plainly stated that “[t]he Department is abolishing all positions within MBDA.”

ECF No. 35-4 at 4. According to that MBDA employee, only five MBDA employees

were not placed on administrative leave and have since been reassigned to positions

outside the MBDA. See id. at ¶ 5. It is unclear how it is speculative for the States to

precipitate delays in funds and services from the MBDA—and harms flowing

therefrom—when the unrebutted record reveals that MBDA’s workforce has been

reduced to zero. States receiving MBDA funding have stated any pause to such

funding will prompt cuts to essential programming. See, e.g., ECF No. 3-11 ¶¶ 13,

20; ECF No. 3-12 ¶¶ 9, 16. Despite many opportunities to do so, the Defendants have

presented no evidence suggesting that these MBDA funds and services can still be

administered, in a timely fashion or at all, in the absence of MBDA’s workforce. And




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now, recent developments show that all existing MBDA grants were terminated

based, in part, on the Reduction EO’s mandate for the agency to eliminate all non-

statutorily required activities and functions. See ECF No. 45-1 ¶ 4; see also ECF Nos.

45-2, 45-3, 45-4, 45-5, 45-6, 45-7 (Notice of grant terminations to MBDA grantees in

Arizona, Hawai‘i, Wisconsin, and Rhode Island).

      As to FMCS, the agency announced the cessation of public sector conciliation

services as of April 18, 2025, ECF No. 1-4, which are services the States have attested

to regularly using and benefiting from. See, e.g., ECF No. 3-39 ¶¶ 7-8; ECF No. 3-26

¶¶ 13(a), 22-23; ECF No. 3-30 ¶ 10. And as to the IMLS, the agency’s headcount was

reduced from seventy-seven to twelve employees3 in the aftermath of the Reduction

EO’s issuance. ECF No. 3-40 ¶¶ 4, 13. An IMLS employee attested, based on their

experience, that the twelve remaining employees “will not be able to administer the

volume of existing grants and incoming grant applications for the upcoming year

[and] [a]s a result . . . no new grants will be awarded, and most existing grants will

be terminated.” Id. ¶ 21. Now, many of the States have attested to being compelled

to cut staff and shut down programs due to the grant terminations and missed grant

payments in the wake of the agency’s apparent implementation of the Reduction EO.

See, e.g., ECF No. 3-33 ¶¶ 4-10, 20, 22 (Washington); ECF No. 3-3 ¶¶ 16, 22, 23, 31–

32 (California); ECF No. 3-4 ¶¶ 17–19, 31 (Connecticut); ECF No. 35-5 ¶¶ 10-12

(Maryland). The States have presented compelling evidence illustrating that the




      3 All but twelve IMLS employees were placed on administrative leave.        ECF
No. 40 ¶ 14.

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harms stemming from the dismantling of IMLS, MBDA, and FMCS are already

unfolding or are certain to occur, in light the significant reduction in personnel

available and competent to administer these agencies’ funds and services and the

elimination of certain programs that served the States. Accordingly, the States’

claims are sufficiently ripe for the Court’s review.

             3.     Subject Matter Jurisdiction

                    a. The Tucker Act

      Next, the Defendants argue that the Court lacks jurisdiction over the States’

APA claims related to the Defendants grant terminations because, under the Tucker

Act, Congress vested the Court of Claims with exclusive jurisdiction over such claims.

ECF No. 41 at 14. The Court disagrees. The Tucker Act “provides jurisdiction and

waiver of immunity in the Claims Court so long as the action: 1) is against the United

States; 2) seeks relief over $10,000; and 3) is founded upon the Constitution, federal

statute, executive regulation or governmental contract.” Vill. W. Assocs. v. Rhode

Island Hous. & Mortg. Fin. Corp., 618 F. Supp. 2d 134, 138 (D.R.I. 2009) (citing 28

U.S.C. § 1491(a)). To support the contention that the States’ challenges to the grant

terminations are claims sounding in contract, the Defendants rely primarily on the

Supreme Court’s ruling on an emergency stay application in Department of

Education v. California, 145 S. Ct. 966 (2025) (per curiam).

       In California, the Supreme Court stayed a district court’s temporary

restraining order that enjoined the Government from terminating education-related

grants after finding that the Government was “likely to succeed in showing the

District Court lacked jurisdiction to order the payment of money under the APA.” Id.


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at 968. The Supreme Court highlighted that the APA’s sovereign immunity waiver

does not apply to claims seeking “money damages,” id. (citing 5 U.S.C. § 702), then

explained that the APA’s immunity waiver “does not extend to orders ‘to enforce a

contractual obligation to pay money’ along the lines of what the District Court ordered

. . .” Id. (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212

(2002)). The Supreme Court highlighted that the “Tucker Act grants the Court of

Federal Claims jurisdiction over suits based on ‘any express or implied contract with

the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

       But California does not render this Court an improper forum for the States’

claims under the APA.        To start, California’s precedential value is limited,

considering that the Supreme Court issued the decision on its emergency docket, in

the context of an application for a stay pending appeal, and based on “barebones

briefing, no argument, and scarce time for reflection.” 145 S. Ct. at 969 (Kagan, J.,

dissenting); see also Merrill v. Milligan, 142 S. Ct. 879 (2022) (Kavanaugh, J.,

concurring) (“The principal dissent’s catchy but worn-out rhetoric about the ‘shadow

docket’ is similarly off target. The stay will allow this Court to decide the merits in

an orderly fashion—after full briefing, oral argument, and our usual extensive

internal deliberations—and ensure that we do not have to decide the merits on the

emergency docket. To reiterate: The Court’s stay order is not a decision on the

merits.”).

       Further, the California stay order does not displace governing law that guides

the Court’s approach to discerning whether the States’ claims are essentially contract




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claims in order to direct jurisdiction to the Court of Claims. “Whether a claim is ‘at

its essence’ contractual for the Tucker Act ‘depends both on the source of the rights

upon which the plaintiff bases its claims, and upon the type of relief sought (or

appropriate).’” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106

(D.C. Cir. 2022) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982)).

The Court first addresses the States’ source of rights; here the States bring claims

under the APA and the United States Constitution. See ECF No. 1 at 44-52. As the

Defendants recognize, the States are not “challeng[ing] specific grant terminations

[or] specific payments they claim to be entitled to.” ECF No. 41 at 21. Rather, the

States’ suit challenges each agency’s actions implementing a categorical policy to

eliminate their “non-statutory components and functions” and “reduce the

performance of their statutory function and associated personnel” under the

Reduction EO. See Exec. Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025).

True, some of the harms the States allege because of these decisions include the

termination of certain grant agreements. But nowhere are the parties quibbling over

whether the States subject to those grant terminations breached the terms or

conditions of the underlying agreements as to transform this action into one sounding

in contract. Rather, the States’ challenges are grounded on whether the Defendants’

actions exceeded the bounds of their statutory or constitutional authorities.

      The Court now turns to the relief the States seek. The Court of Claims’

exclusive jurisdiction under the Tucker Act does not arise “merely because [a

plaintiff] hints at some interest in a monetary reward from the federal government




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or because success on the merits may obligate the United States to pay the

complainant.” Crowley Gov’t Servs., Inc., 38 F.4th at 1108 (quoting Kidwell v. Dep’t

of Army, 56 F.3d 279, 284 (D.C. Cir. 1995)). Indeed, the Supreme Court reaffirmed,

in California, that “a district court’s jurisdiction ‘is not barred by the possibility’ that

an order setting aside an agency’s action may result in the disbursement of funds.”

California, 145 S. Ct. at 968 (quoting Bowen v. Massachusetts, 487 U.S. 879, 910

(1988)).   The States seek equitable relief to enjoin the Defendants’ actions

implementing the Reduction EO—not specific performance of any grant agreements.

True, the scope of the relief the States seek implicates enjoining the unlawful

terminations of their grants. But such relief “is not a claim for money damages,”

precluded under the APA—even though “it is a claim that would require the payment

of money by the federal government.” Bowen, 487 U.S. at 894. That is because money

damages are a remedy at law that “provide relief that substitutes for that which ought

to have been done.”      Id. at 910.    Whereas specific relief does not constitute a

“substitute remed[y] at all, but attempt[s] to give the plaintiff the very thing to which

he was entitled.” Id. at 895 (citations omitted). Here, the States “seek access to funds

they are presently entitled to, ‘rather than money in compensation for the losses,

whatever they may be, that [Plaintiffs] will suffer or ha[ve] suffered by virtue of the

withholding of those funds.’” Climate United Fund v. Citibank, N.A., No. 25-CV-698

(TSC), 2025 WL 1131412, at *10 (D.D.C. Apr. 16, 2025) (quoting Bowen, 487 U.S.

at 895).




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        Accordingly, because the States’ challenges are based on alleged statutory

and constitutional violations and the relief they seek is equitable, the essence of their

claims are not contractual, so they are not subject to the exclusive jurisdiction of the

Court of Claims under the Tucker Act. Crowley, 38 F.4th at 1106.

                    b. The Civil Service Reform Act

      Next, the Defendants assert that the Court lacks jurisdiction to consider the

States’ challenges to the placement of IMLS, MBDA, and FMCS personnel on

administrative leave because, under the Civil Service Reform Act (“CSRA”),

“Congress made the Office of Special Counsel [OSC], the Merit Systems Protection

Board (“MSPB”), and the Federal Labor Relations Authority (“FLRA”) the exclusive

means for federal employees . . . and other interested parties to raise challenges to

final, non-discrimination-related employment actions, even when those disputes

involve constitutional claims.”     ECF No. 41 at 19-20 (citations omitted).         The

Defendants urge that “the APA does not permit litigants to forestall properly

applicable channeling regimes that Congress established.” Id. at 20.

      There is no dispute that the CSRA “established a comprehensive system for

reviewing personnel action taken against federal employees.”           United States v.

Fausto, 484 U.S. 439, 455 (1988). But to determine whether the CSRA’s statutory

review scheme precludes district court jurisdiction, the Court must consider whether:

(1) “the ‘statutory scheme’ displays a ‘fairly discernible’ intent to limit jurisdiction,”

and (2) “the claims at issue ‘are of the type Congress intended to be reviewed within

th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561

U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207,


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212 (1994)). As to the second prong, the Court must presume that Congress does not

intend to limit jurisdiction “if ‘a finding of preclusion could foreclose all meaningful

judicial review’; if the suit is ‘wholly collateral to a statute’s review provisions’; and if

the claims are ‘outside the agency’s expertise.’” Id. (quoting Thunder Basin, 510 U.S.

at 212-213).

       The Court does not observe any jurisdiction bar within the CSRA’s statutory

scheme that would apply to the States; the scheme, at most, contemplates the

availability of judicial review of federal employees’ disputes over employment

decisions. Specifically, the CSRA’s “comprehensive and exclusive” statutory scheme

“protects covered federal employees against a broad range of personnel practices, and

... supplies a variety of causes of action and remedies to employees when their rights

under the statute are violated.” Grosdidier v. Chairman, Broad. Bd. of Governors,

560 F.3d 495, 497 (D.C. Cir. 2009) (emphasis added). Thus, “[a] federal employee

generally may not pursue alternative routes of judicial review, such as by filing a civil

action in district court under the APA.” Rodriguez v. United States, 852 F.3d 67, 82

(1st Cir. 2017) (emphasis added). Here, none of the plaintiffs are federal employees

so the Court need not review whether their claims fall under the ambit of the CSRA.

       As to the second prong, a finding of CSRA preclusion would foreclose all

meaningful judicial review over the States’ claims because they cannot bring their

claims under CSRA’s statutory scheme.             Further, the States’ challenges to the

Defendants actions to implement the Reduction EO are plainly outside the MSPB’s

expertise.     While the States’ challenges implicate the Defendants’ decisions to




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terminate or place employees on leave, such challenges are not the run of the mill

challenges to adverse employment actions with which the MSPB may be familiar.

Instead, the States’ claims raise constitutional and statutory challenges to various

agencies’ decisions effectuating “the termination of agency functions, the failure to

carry out statutory duties, [and] the refusal to expend appropriations.” ECF No. 44

at 11. The MSPB and OSC do not have the jurisdiction to review the congressional

appropriation issues raised here. See Widakuswara v. Lake, No. 1:25-CV-1015-RCL,

2025 WL 1166400, at *11 n.22 (D.D.C. Apr. 22, 2025)4 (“Widakuswara II”) (“the MSPB

and OSC have no jurisdiction to review the cancellation of congressional

appropriations.”). And the States’ remaining APA and constitutional claims—under

separation of powers principles and the Take Care Clause—“raise[s] standard

questions of administrative and constitutional law, detached from any issues related

to federal employment.” Id. (quoting Axon Enter., Inc. v. FTC, 598 U.S. 175, 194

(2023)) (internal quotation marks omitted). Thus, the States’ claims fall outside the

“competence and expertise” of the administrative bodies that handle employee

grievance arising under the CSRA.

      Lastly, for similar reasons, the States’ claims are “wholly collateral” to CSRA’s

review provisions because they invoke constitutional and administrative questions




      4 The D.C. Circuit administratively stayed the preliminary injunction issued

in Widakuswara II as to only the part of the order to restore grants but specified that
“[t]he purpose of this administrative stay is to give the court sufficient opportunity to
consider the emergency motions for stay pending appeal and should not be construed
in any way as a ruling on the merits of those motions.” Widakuswara v. Lake, No. 25-
5144 (D.C. Cir. May 1, 2024).

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about the propriety of the agencies’ actions to curtail their respective statutory and

discretionary functions—i.e., claims that do not necessarily relate to CSRA’s focus on

the review of federal employee grievances. Accordingly, the CSRA statutory scheme

does not reflect Congress’s intent to preclude the Court’s jurisdiction to review the

States’ claims here.

      B. Likelihood of Success on the Merits

             1. APA Claims

      The APA allows judicial review of “final agency action for which there is no

other adequate remedy in a court.” 5 U.S.C. § 704. The States assert that the

Defendants’ implementation of the Reduction EO violates the APA because such

actions are arbitrary and capricious and contrary to law. Before reaching the merits,

the Court must first address the Defendants’ contentions that the States’ claims

cannot be subject to judicial review under the APA because the agency actions at

issue are neither discrete nor final.

                    a. “Programmatic” Challenges

      The Defendants contend that the States do not challenge “discrete agency

action,” “but rather a collection of grant terminations, personnel actions, and

programmatic activities.” ECF No. 41 at 20-21. In making such arguments, the

Defendants analogize the States’ challenges as the type of “programmatic challenge”

that the Supreme Court dispelled in Lujan v. National Wildlife Fed’n, 497 U.S. 871

(1990). See ECF No. 41 at 20-22. In Lujan, the “programmatic challenge” that the

Supreme Court dispelled “was an attempt to seek ‘wholesale’ ‘programmatic




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improvements’ ‘by court decree’ by ‘couch[ing]’ ‘[the Bureau of Land Management’s]

land withdrawal review program’ as an ‘unlawful agency action.’” New York v.

Trump, 133 F.4th 51, 67 (1st Cir. 2025) (quoting Norton v. S. Utah Wilderness All.,

542 U.S. 55, 64 (2004)). But the Supreme Court recognized in Lujan that “if there is

in fact some specific order or regulation, applying some particular measure across the

board to all individual classification terminations and withdrawal revocations . . . it

can of course be challenged under the APA.” 497 U.S. at 890 n.2.        Here, the States’

claims are closer to the latter type of APA challenge; the States have underscored

that they are challenging the Agency Defendant’s adoption of a discrete, categorical

policy that applies the measure “of eliminating all functions and components not

mandated by statute, and of dramatically reducing their remaining functions” across

the board. See ECF No. 44 at 14-15. Accordingly, the States’ APA challenges are of

the type deemed proper under Lujan.

                    b. Final Agency Action

      Now, the Court must address whether there was “final agency action” to permit

judicial review under the APA. 5 U.S.C. § 704. “[A]gency action includes the whole

or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial

thereof, or failure to act.” Id. § 551(13). “Agency action” is not an “all-encompassing”

term that authorizes the Court to “exercise ‘judicial review [over] everything done by

an administrative agency.’” Indep. Equip. Dealers Ass’n v. E.P.A., 372 F.3d 420, 427

(D.C. Cir. 2004) (quoting Hearst Radio, Inc. v. FCC, 167 F.2d 225, 227 (D.C. Cir.

1948)). Still, the term has a broad sweep—covering “comprehensively every manner




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in which an agency may exercise its power.” Whitman v. Am. Trucking Ass’ns, 531

U.S. 457, 478 (2001) (citing FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 238 n.7

(1980)). Relevantly, “[t]he term ‘action’ encompasses an agency’s ‘policy or routine

practice.’” Am. Fed’n of Tchrs. v. Bessent, No. CV DLB-25-0430, 2025 WL 895326, at

*13 (D. Md. Mar. 24, 2025) (quoting Amadei v. Nielsen, 348 F. Supp. 3d 145, 164

(E.D.N.Y. 2018)). An agency action is final if: (1) it marks the “‘consummation’ of the

agency’s decisionmaking process,” and (2) the action determines rights or obligations

or creates legal consequences. Harper v. Werfel, 118 F.4th 100, 116 (1st Cir. 2024)

(citing Bennett v. Spear, 520 U.S. 154, 177 (1997)). The Court is to apply the “finality”

requirement in a “flexible” and “pragmatic” fashion. Abbott Lab’ys v. Gardner, 387

U.S. 136, 149-151 (1967). For the purposes of this analysis, it is crucial to lay out the

actions that occurred at IMLS, MBDA, and FMCS close to the Reduction EO’s

issuance.

       At IMLS, an employee described that the agency’s leadership held a town hall

during which they informed staff that IMLS “would look ‘very different’ following the

President’s [Reduction] executive order and that it might be stripped ‘down to the

studs.’” ECF No. 3-40 ¶ 6. Then on March 31, each office head within IMLS “met

separately with their staff to inform them that the entirety of IMLS would be placed

on admin[istrative] leave and that all grants would be terminated, with a potential

exception of the Grants to States Program.” Id. ¶ 11. That same day all but twelve

of IMLS’s staff of seventy-seven were placed on administrative leave. Id. ¶¶ 4, 13.

Over a week later, IMLS terminated over 1,000 grants—and each termination notice




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stated that the grant was “‘no longer consistent with the agencies’ priorities’ and that

the President’s March 14, 2025, executive order ‘mandates that the IMLS eliminate

all non-statutorily required activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF

Nos. 35-5 at 10-11, 35-6 at 6-7, 35-8 at 5-20, 35-9 at 4-5 (notices of grant termination

from IMLS to grantees in Maryland, New Jersey, Washington, and Wisconsin citing

the Reduction EO and stating that the grant terminations were based, in part, on

“the President’s March 14, 2025 executive order [that] mandates that the IMLS

eliminate all non-statutorily required activities and functions.”).

      At MBDA, a RIF notice to one of its employees revealed the plan to “eliminate

the non-statutory components and functions of MBDA”—that appeared to include

“abolishing all positions within MBDA.” ECF No. 35-4 at 4. And that appears to

have occurred, because all MBDA employees have either been placed on

administrative leave with a slated termination date of May 9, 2025, or have been

reassigned to positions outside the MBDA. Id. ¶¶ 5–6. A declaration from an MBDA

employee also reveals that Nate Cavanaugh—an individual purporting to act under

the authority of Acting MBDA Undersecretary Keith Sonderling—sent out notices

informing MBDA grant recipients that their grants were being terminated effective

April 17, 2025. ECF No. 45-1 ¶ 4. That employee has conveyed that “all preexisting

MBDA grants were terminated pursuant to such notices.” Id. The States have

provided copies of such notice of grant terminations from the MBDA, all which

include boilerplate language explaining that the grants were being terminated, in

part based on the “the President’s March 14, 2025 executive order [that] mandates




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that the MBDA eliminate all non-statutorily required activities and functions.”. See

ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2.

      Lastly, at the FMCS, staff has been cut from 207 to fifteen. ECF No. 3-42 ¶¶ 4-

7. A letter from the Director of Human Resources indicates that the RIF implemented

was “taken in accordance with President Donald Trump’s . . . Executive Order 14238

[Reduction EO] of March 14, 2025.” Id. at 5. Further, FMCS circulated an internal

memorandum citing the Reduction EO as among the “updated guidance” the agency

received to implement a plan to perform “only statutory mandated functions.” ECF

No. 1-4 at 2. And that memorandum also outlined “operational adjustments” to take

effect immediately, stating that the agency: (1) will not accept new public sector and

grievance mediation, and (2) should not schedule new in-person education, advocacy,

and outreach meetings. Id. at 2-3.

      What the unrefuted evidence reveals is that, to comply with the Reduction EO,

IMLS, MBDA, and FMCS each adopted a policy to eliminate all non-statutorily

required activities and functions and reduce their statutory functions and personnel

to the bare minimum—thereby taking an “agency action.” Bessent, 2025 WL 895326,

at *13. And each of those agencies “consummat[ed] [their] decisionmaking process”

upon adopting such policies as there is no evidence that these decisions to eliminate

non-statutorily required activities and functions are “tentative or interlocutory.”

Bennett, 520 U.S. at 178. Rather, as surmised above, the IMLS, MBDA, and FMCS

made it explicitly clear in various memoranda, grant termination letters, and other

documents that they were terminating grants, staff, and programs pursuant to their




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effort to “eliminate all non-statutorily required activities.”          Further, “legal

consequences” flow from these decisions, as: (1) the States and other grant recipients

no longer have access to previously award funds because of grant terminations and

withheld or delayed disbursements; (2) the personnel necessary for these agencies to

feasibly administer grant awards and payments to the States have been removed, en

masse, and (3) FMCS, in particular, has stopped providing public sector services to

the States. Accordingly, the Court finds that IMLS, MBDA, and FMCS have taken

final agency actions subject to the Court’s review.

                    c. Arbitrary and Capricious

      Under the APA, a “reviewing court shall . . . hold unlawful and set aside agency

action, findings, and conclusions found to be . . . arbitrary, capricious . . .” 5 U.S.C.

§ 706(2)(A). Agency action is arbitrary and capricious “if it is not reasonable and

reasonably explained.”    Ohio v. E.P.A., 603 U.S. 279, 292 (2024) (citing FCC v.

Prometheus Radio Project, 556 U.S. 502, 513 (2021)). While the scope of review under

this standard is “narrow” and the Court may not “substitute its judgment for that of

the agency,” the agency must still articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” Motor

Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)

(quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). That

requirement is satisfied when the agency’s explanation is clear enough that its “path

may reasonably be discerned.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221

(2016) (citing Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281




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286 (1974)). But “where the agency has failed to provide even that minimal level of

analysis, its action is arbitrary and capricious and so cannot carry the force of law.”

Id.

      Here, there is an absence of any reasonable explanation from IMLS, MBDA,

and FMCS. The Reduction EO—with which these agencies sought to comply through

their challenged policies—stated that the “non-statutory components and functions”

of IMLS, MBDA, and FMCS shall be “eliminated to the maximum extent consistent

with applicable law.” 90 Fed. Reg. 13043 (Mar. 14, 2025). But the Defendants have

not shown that any analysis was conducted to determine which “components and

functions” of IMLS, MBDA, and FMCS are statutorily required, and which are not.

      For instance, in its letter apprising employees of their placement on

administrative leave, IMLS merely indicated that “this action . . . is taken to facilitate

the work and operations of the agency.” ECF No. 1-1 at 2; see also ECF No. 3-40 at

4. And both MBDA and FMCS explained that the implementation of a RIF was being

done in accordance with the Reduction EO—shortly before most of their employees

were placed on administrative leave. See ECF No. 3-42 at 4-5; ECF No. 1-3 at 2.

Further, in its memorandum announcing the cessation of its core programs, FMCS

stated it was “required to perform only statutorily mandated functions” because of

the mandates in the Reduction EO and other executive orders and guidance. See

ECF No. 1-4 at 2. And, as the States point out, MBDA has not publicly acknowledged

or even explained the removal of all its staff and the abrupt dismantling of its core

programs. See ECF No. 3-41 ¶ 13 (indicating that MBDA has: (1) taken down grant




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solicitations for its Rural Business Center Program and Women Entrepreneurship

Program, (2) eliminated its Minority Business Center Advisory Council, and (3)

placed all staff responsible for its informational clearinghouse—“a statutorily

mandated activity to collect and share data on minority business enterprises”—on

administrative leave.).

      IMLS has also offered no further explanation for the termination of thousands

of its grants other than stating that the grants are “no longer consistent with the

agency’s priorities” and citing the Reduction EO’s mandate to “eliminate all non-

statutorily required activities and functions.” See ECF Nos. 35-5 at 11; 35-6 at 7; 35-

8 at 5-20; 35-9 at 5. And grant termination letters from MBDA provided the same

anemic explanations, using nearly the same language that was used in the boilerplate

IMLS grant termination letters. See ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5

at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is unfortunately no

longer consistent with the agency’s priorities . . . [and] the President’s [Reduction EO]

mandates that the MBDA eliminate all non-statutorily required activities and

functions . . . Therefore, the MBDA hereby terminates your grant in its entirety . . .”).

      Recall that “[t]he APA requires a rational connection between the facts, the

agency’s rationale, and the ultimate decision.” Nat’l Council of Nonprofits v. Off. of

Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025).

Thus, conclusory statements do not “reasonably” explain agency action. See Amerijet

Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (quoting Butte Cnty., Cal.

v. Hogen, 613 F.3d 190, 194 (D.C. Cir. 2010)) (“[T]o this end, conclusory statements




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will not do; an ‘agency’s statement must be one of reasoning.’”). Here, the “rational

connections” are absent, as IMLS’s, MBDA’s, and FMCS’s justifications for

eliminating programs, terminating grants, and implementing large-scale employee

RIFs have been couched in mere conclusory statements—most of which merely defer

to the Reduction EO. There is no explanation about why the targeted programs or

grants fell within the ambit of “non-statutory” functions or components.        Such

conclusory explanations, “devoid of data or any independent explanation, [are]

grossly insufficient and fall[] far short of reasoned analysis.” Widakuswara v. Lake,

No. 25-CV-2390 (JPO), 2025 WL 945869, at *5 (S.D.N.Y. Mar. 28, 2025)

(“Widakuswara I”).

      Additionally, ILMS, MBDA, and FMCS have failed to indicate that they

considered any of the significant reliance interests of their program beneficiaries or

grantees such as libraries, museums, business centers, contractors, labor unions,

states, and local governments. See Dep’t of Homeland Sec. v. Regents of the Univ. of

Cal., 591 U.S. 1, 30 (2020) (citations omitted) (“When an agency changes course, as

[IMLS, MBDA, FMCS] did here, it must be cognizant that longstanding policies may

have engendered serious reliance interests that must be taken into account. It would

be arbitrary and capricious to ignore such matters.”). The States have presented

compelling evidence that they rely on timely and continuous disbursements to

continue operating several important programs and services. See, e.g., ECF No. 3-

24 ¶¶ 18, 22 (New Mexico explaining that delay in disbursement of IMLS grant funds

will prompt the delay, suspension, or reduction of interlibrary loan services); ECF




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No. 3-3 ¶ 27 (California State Librarian noting that “If we do not receive such

disbursements/reimbursements [from IMLS], it will stop statewide and local public

library programs immediately and before they can be completed, contracted services

will be denied payment. Much-needed library services to Californians will cease.

Money for the salary and benefits for a significant portion of the California State

Library’s staff (34 positions) would be unavailable, and layoffs would ensue.”); ECF

No. 3-10 ¶ 16 (“Any pause in funding would delay completion of client projects,

resulting in clients losing access to capital and contracting opportunities, prevent new

clients from accessing these services and resources, and may lead to loss of jobs.

Delay would also eliminate our ability to fill key staff positions currently open, and

would therefore terminate the ability to restore vital business activity by the Hawai‘i

MBDA Business Center.”).

      Further, the States have supplied evidence underscoring how much they have

depended on FMCS to provide mediation and conciliation services to solve non-federal

public sector disputes and to prevent “prolonged labor disputes that could disrupt the

provision of essential state services.” ECF No. 3-30 ¶¶11-13 (noting prolonged labor

disputes pose risks to state services such as child welfare); see also ECF No. 3-32 ¶ 13

(“If FMCS ceased to function in a meaningful way . . . Rhode Island would suffer from

prolonged labor disputes that could disrupt transportation, healthcare, and other

critical services throughout the State.”); ECF No. 3-26 ¶ 8.b n.1 (School District in

Illinois required to seek emergency mediation services “after the Parties had spent

five (5) months working with an FMCS mediator whose services suddenly ceased to




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be available” after the issuance of the Reduction EO); id. ¶¶ 18, 22 (explaining that

FMCS mediators are “exceedingly competent and well-trained”; New Mexico will “not

be able to replace those services in the near or medium term”). These examples show

the significant reliance interests that IMLS, MBDA, and FMCS appeared not to

consider when hastily adopting the mandates in the Reduction EO. “In light of the

serious reliance interests at stake, [IMLS, MBDA, and FMCS’] conclusory statements

do not suffice to explain [their] decision[s].” Encino Motorcars, 579 U.S. at 224.

      Accordingly, because IMLS, MBDA, and FMCS have not provided a rational

connection between the sweeping actions they have taken and the vague, conclusory

justifications they have provided, the Court finds that the States have established a

strong likelihood of success on their arbitrary and capricious claims. Ohio, 603 U.S.

at 292. Further, the Court finds that the States have illustrated a strong likelihood

of success on their claims that IMLS, MBDA, and FMCS acted arbitrarily and

capriciously in failing to consider reliance interests. Regents, 591 U.S. at 30; see also

Smiley v. Citibank (S. Dakota), N.A., 517 U.S. 735, 742 (1996) (citations omitted)

(“Sudden and unexplained change, . . . or change that does not take account of

legitimate reliance . . . may be ‘arbitrary, capricious [or] an abuse of discretion.’”

                    d. Contrary to Law

      IMLS, MBDA, and FMCS also likely violated the APA, as their actions were

“not in accordance with law.” 5 U.S.C. 706(2)(A).

                          i.   Actions Inconsistent with the Agencies’ Mandatory
                               Statutory Duties




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      “Under Article II of the Constitution and relevant Supreme Court precedents

the President [and subordinate executive agencies] must follow statutory mandates.”

In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013). The Executive may not “decline

to follow a statutory mandate or prohibition simply because of policy objections.” Id.

Thus, “absent a lack of funds or a claim of unconstitutionality that has not been

rejected by final Court order, the Executive must abide by statutory mandates and

prohibitions.” Id. Here, the States have presented compelling evidence illustrating

that IMLS, MBDA, and FMCS are flouting their statutory mandates in implementing

the directives outlined in the Reduction EO.

      Starting with IMLS, Congress directed the agency to conduct regular research

and data collection to “extend and improve the Nation’s museum, library, and

information services.” 20 U.S.C. § 9108(a). Congress also tasked the agency with

administering the Grants to States Program, see id. § 9141, which involves: (1)

reviewing state plans from fifty-nine states and territories, id. §§ 9122(3), (5),

9134(e)(1); (2) notifying jurisdictions of noncompliant plans and providing “technical

assistance” to help bring such plans into compliance, id. § 9134(e)(3)(A), (C); (3)

paying the “Federal share of the activities” described in approved state plans, id.

§ 9133(a), and monitoring state expenditures, id. § 9133(c).      Further, Congress

charged IMLS with administering grant programs relating to the National Museum

of African American History and Culture, 20 U.S.C. § 80r-5(b), and the National

Museum of the American Latino, id. § 80u(f)(2). Congress also instructed IMLS to

administer several competitive grant programs each year. Id. § 9165(a)(1)-(3) (Laura




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Bush 21st Century Librarian Program); id. § 9161 (Native American Library Services

Grant Program); id. § 9162 (National leadership grants for libraries program).

      Before the large-scale RIF at the agency, IMLS carried out its responsibilities

with seventy-seven employees—with thirty-five employees assigned mainly to

administer the agency’s grants programs. ECF No. 3-40 ¶¶ 17-18. Nothing suggests

that the twelve employees expected to be brought back from administrative leave will

be able to fulfill IMLS’s wide-ranging statutory responsibilities. Id. ¶ 21. First, none

of the returning twelve employees work in the IMLS’s Office of Research and

Evaluation—which is the office primarily responsible for conducting the regular

research and data collection that the statute requires IMLS to perform. Id. ¶ 22.

Thus, with that office essentially defunct, there is no evidence that the agency will be

able to perform its statutorily required regular research and data collection. See 20

U.S.C. § 9108. Nor is there any indication that the twelve employees will be able to

consider the large volume of new grant applications and administer any existing

grants—especially because most of those twelve employees do not have experience

with administering grants. ECF No. 3-40 ¶¶ 20-21.

      Regarding MBDA, Congress directed that the agency “shall” provide federal

assistance awards and technical assistance to MBDA Business Centers, 15 U.S.C.

§ 9523(a)(3), and outlined the criteria the agency must use when awarding grants, id.

§ 9524. Congress also required MBDA to (1) “collect and analyze data” relating to

minority business enterprises, id. § 9513(a)(1)(A); (2) conduct economic “research,

studies, and surveys,” id. § 9513(a)(1)(B)(i); and (3) “provide outreach, educational




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services, and technical assistance” in at least five languages, id. § 9513(A)(1)(C).

Congress also instructed MBDA to establish a “regional office . . . for each of the

regions of the United States,” id. § 9502(e)(2)(A) and provided a list of duties those

offices must perform, including outreach, cooperation with relevant private and

government entities, and information-gathering, id. § 9502(e)(2)(B).

       But as of now, no employees appear to be currently working at MBDA. See

ECF No. 35-3 ¶¶ 4-5. Thus, there is no one who can: (1) staff the “regional office for

each of regions of the country” that MBDA is statutory required to have, see 15 U.S.C.

§ 9502(e)(2)(A); (2) monitor MBDA’s existing grants for compliance—if any still exist;

or (3) timely award new grants, all of which used to be facilitated by a team of forty

employees. See ECF No. 3-41 ¶¶ 10-12. MBDA has ceased performing many of its

statutory duties, including: (1) posting new grant solicitations; (2) performing data

collecting and sharing on minority business enterprises, and (3) undertaking required

communications with MBDA centers. Id. ¶ 13; ECF No. 3-12 ¶ 17.

      Lastly, as to FMCS, Congress outlined that it is “the duty of the Service, in

order to prevent or minimize interruptions of the free flow of commerce growing out

of labor disputes, to assist parties to labor disputes in industries affecting commerce

to settle such disputes through conciliation and mediation.” 29 U.S.C. § 173(a).

Further, Congress directed FMCS to “make its conciliation and mediation services

available in the settlement of” grievance disputes arising “arising over the application

or interpretation of an existing collective-bargaining agreement.” Id. § 173(d). Yet

FMCS has ceased its grievance mediation services as of March 14, 2025. See ECF




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No. 1-4 at 2 (“No new [Grievance Mediation (“GM”)] cases will be accepted. As of

March 14, all GM cases should be complete.”). Further, with its substantial reduction

of personnel from about 200 to fifteen, see ECF No. 3-42 ¶¶ 4-7, nothing suggests that

FMCS’ remaining employees can continue to perform its statutory duties, see ECF

No. 3-14 ¶ 11.

                           ii.   Violations of Each Agency’s Appropriations Statute

           The Constitution’s Appropriation Clause, U.S. Const. art. I, § 9, cl. 7, grants

“Congress ‘exclusive power’ over federal spending.” Nat’l Council of Nonprofits v. Off.

of Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025)

(quoting U.S. Dep’t of the Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C.

Cir. 2012)).     Without such exclusive power, “the [E]xecutive would possess an

unbounded power over the public purse of the nation[ ] and might apply all its monied

resources at his pleasure.” U.S. Dep’t of the Navy, 665 F.3d at 1347 (quoting 3 Joseph

Story, Commentaries on the Constitution of the United States § 1342, at 213–14

(1833)).

      By making laws, Congress has expressly restricted the Executive Branch from

taking control of its appropriation powers. One such body of law is the Congressional

Budget and Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et seq., (“ICA”) which

details the procedures the Executive must follow if it wishes to impound appropriated

funds. For the permanent rescission of appropriated funds, Congress outlined that if

the President “determines that all or part of any budget authority will not be required

to carry out the full objectives or scope of programs for which it is provided or . . .




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should be rescinded for fiscal policy of other reasons,” the President must “transmit

to both Houses of Congress a special message” that specifies the amount, effect,

reasons, and other information relating to the proposed rescission. 2 U.S.C. § 683(a).

The act also requires the funds proposed for rescission “be made available for

obligation” unless, within forty-five days, Congress rescinds the appropriation. Id.

§ 683(b). And if the President wishes to defer appropriated funds, the ICA also

outlines that process, which also involves sending a special message to Congress. Id.

§§ 684(a), 682(1). Accordingly, while “a President sometimes has policy reasons . . .

for wanting to spend less than the full amount appropriated by Congress for a

particular project or program . . . the President does not have unilateral authority to

refuse to spend the funds. Instead, the President must propose the rescission of

funds, and Congress then may decide whether to approve a rescission bill.” In re

Aiken Cnty, 725 F.3d at 261 n.1; see also City & Cnty. of San Francisco v. Trump,

897 F.3d 1225, 1235 (9th Cir. 2018) (“Absent congressional authorization, the

Administration may not redistribute or withhold properly appropriated funds in

order to effectuate its own policy goals.”).

       Congress appropriated funds to IMLS, MBDA, and FMCS at the same levels

as the previous fiscal years. But the records show that these agencies are rescinding

or deferring appropriated funds and do not plan to spend them. For instance, it

appears that all—or nearly all—preexisting grants that IMLS and MBDA administer

have been terminated, see ECF Nos. 45-1 ¶ 4; 35-3 ¶ 5, to carry out the Reduction EO

and other of the President’s undefined policy goals. See ECF Nos. 45-2 at 4; 45-3 at 6,




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7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is

unfortunately no longer consistent with the agency’s priorities . . . MBDA is

repurposing its funding allocations . . . in furtherance of the President’s agenda.

Independently and secondly, the President’s [Reduction EO] mandates that the

MBDA eliminate all non-statutorily required activities and functions . . . Therefore,

the MBDA hereby terminates your grant in its entirety . . .”); see also ECF Nos. 35-5

at 10-11; 35-6 at 6-7; 35-8 at 5-20; 35-9 at 4-5 (same). As explained above, nothing

suggests that the “skeleton” crew remaining at IMLS—which has only a small portion

of personnel experienced with grant administration—will be able to administer

disbursements of the millions of dollars in grant funds they are budgeted to award.

See IMLS, FISCAL YEAR 2024 APPROPRIATIONS REQUEST TO THE UNITED STATES

CONGRESS      4-6,   (Mar.    2023),    https://www.imls.gov/sites/default/files/2023-

03/fy24cj.pdf (allocating over $250 million for grants and $20 million for

administrative expenses). Nor is it clear how a crew of zero will be able to administer

any of the grant funds MBDA is budgeted to award.           See MBDA, FISCAL YEAR

2024                          CONGRESSIONAL                             JUSTIFICATION

(Mar. 2023), https://www.commerce.gov/sites/default/files/2023-04/MBDA-FY2024-

Congressional-Budget-Submission.pdf.

       As for FMCS, only fifteen employees remain and they must perform the work

that over 200 employees previously performed. Thus, such a small group of personnel

will expend only a fraction of what it would have otherwise spent to perform to its

conciliation, arbitration, and mediation services with its previous staffing level. See




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FMCS, FISCAL YEAR 2024 CONGRESSIONAL BUDGET SUBMISSION, AT 23 (Mar. 13, 2023),

https://www.fmcs.gov/wp-content/uploads/2023/03/2024-Congressional-Budget.pdf

($42.3 million out of $55 million budget request allocated to mediations, training,

outreach, and workshops).

      As the States point out, the Reduction EO orders OMB to “reject funding

requests” for IMLS, MBDA, and FMCS “to the extent they are inconsistent” with the

mandate for these agencies to “eliminate non-statutory components and functions”

and “reduce the performance of their statutory functions and associated personnel.”

90 Fed. Reg. 13043 (Mar. 14, 2025). Thus, the Reduction EO practically proscribes

these agencies from increasing expenditures elsewhere to make up for these cuts in

spending, considering its mandate to reduce these agencies’ functions and activities

to the bare minimum. But Congress made clear that it wanted to appropriate funds

to IMLS, MBDA, and FMCS so they may operate at the same level as the previous

fiscal year. And the Executive does not have the “unilateral authority to refuse to

spend the funds.” In re Aiken Cnty, 725 F.3d at 261 n.1. Thus, if the Executive does

wish to rescind or defer funds appropriated to an agency, they are in luck, as the ICA

sets forth clear procedures to facilitate that process under congressional oversight. 2

U.S.C. §§ 681–688. But that process was not facilitated here. Rather, IMLS, MBDA,

and FMCS took actions that essentially directed the rescission of funds to fulfill the

President’s policy—with congressional authorization glaringly absent.

      The Court therefore finds that the States are likely to succeed in establishing

that IMLS, MBDA, and FMCS violated the APA by acting “not in accordance” with




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their respective statutory mandates and congressional appropriations acts when

effectively absconding their statutory mandates by terminating core services and

grant programs.

             2. Separation of Powers and Take Care Clause Claims

      Under the Constitution, the President is required “take Care that the Laws be

faithfully executed,” U.S. Const. art. II, § 3, “across the entire Executive Branch—

including ‘independent’ agencies.” Eng. v. Trump, 279 F. Supp. 3d 307, 327 (D.D.C.

2018) (citing Free Enter. Fund v. PCAOB, 561 U.S. 477, 496–97 (2010)).

“And because federal agencies are ‘creatures of statute,’ and ‘the Take Care Clause

cannot be used to bypass agencies’ limited status as creatures of statute, [they]

possess only the authority that Congress has provided them.’” Widakuswara II, 2025

WL 1166400, at *15 (quoting Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th

902, 914 (D.C. Cir. 2024)).

      Here, IMLS, MBDA, and FMCS were created by Congress via statutes that

granted each a comprehensive set of statutory responsibilities.         See Labor

Management Relations Act, 1947, Pub. L. No. 80-101, § 202 (establishing FMCS);

Museum and Library Services Act of 1996, Pub. L. 104-208, 110 Stat. 3009

(establishing IMLS); and Minority Business Development Act of 2021, Infrastructure

Investment and Jobs Act, Pub. L. 117-58, div. K (Nov. 15, 2021) (authorizing MBDA).

And Congress, a mere day after the Reduction EO’s issuance, passed a statute that

appropriated funds to these three agencies.    See Continuing Appropriations Act

§ 1101(a)(2), (8). But Defendants’ acts “[w]ithholding congressionally appropriated




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funds, and effectively shuttering a congressionally created agency simply cannot be

construed as following through on [the] constitutional mandate [of the Take Care

Clause].” Widakuswara II, 2025 WL 1166400, at *15.

      Intertwined with the Take Care Clause claim, the States assert that the

Defendants’ actions “violate[] the constitutional separation of powers.” ECF No. 3

at 33. Article I of the Constitution grants to the legislative branch, the exclusive

power to make law, U.S. Const. art. I, § 1, and the power of the purse, id. § 8, cl. 1.

As for the Executive, “[t]here is no provision in the Constitution that authorizes the

President to enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524

U.S. 417, 438 (1998).     By issuing the Reduction EO—which effectively directs

withholding the funds that Congress recently statutorily appropriated to IMLS,

MBDA, and FMCS, resulting in the cessation of several of their programs, see

supra—the Executive is usurping Congress’s: (1) power of the purse, by disregarding

congressional appropriations; and (2) vested legislative authority to create and

abolish federal agencies. See Widakuswara I, 2025 WL 945869, at *7 (finding that

the Executive usurped Congress’s power of the purse and “legislative supremacy” in

violation of the Constitution’s implicit separation of powers principles when

“withholding funds statutorily appropriated to full administer” a federal agency).

      Thus, the States have established a likelihood of success on their claims that

the Defendants violated the Take Care Clause and constitutional separation of

powers.




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      C. Irreparable Harm

      “District courts have broad discretion to evaluate the irreparability of alleged

harm and to make determinations regarding the propriety of injunctive relief.” K–

Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

guide that discretion—“the plaintiff’s showing must possess some substance” and “the

predicted harm and the likelihood of success on the merits must be juxtaposed and

weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19

(1st Cir. 1996) (citations omitted). The Court finds that the States have demonstrated

irreparable and continuing harm from the Defendants’ de facto dismantling of IMLS,

MBDA, and FMCS.

      The States have presented a plethora of declarations illustrating the myriad of

harms arising from the undoing of IMLS. The New Jersey Library “issued stop work

orders” and will not be able to work on project developing tools to teach informational

literacy to K-12 students due to terminated IMLS grant funding. ECF No. 35-6 ¶¶ 7-

8. The New York State Library described that a delay in funding from IMLS will

cause it to “immediately . . . halt services and implement a hiring freeze.” ECF No. 3-

27 ¶ 29, 42. And the loss of data from IMLS’s Public Library Survey would “represent

the loss of decades of information that is critical for community development and

planning.” Id. ¶ 35. The California State Library will have to “stop statewide and

local public library programs immediately and before they can be completed,” “deny

payments for contracted services, and initiate layoffs if it does not receive IMLS




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disbursements and reimbursements.” ECF No. 3-3 ¶ 10, 32. Loss of IMLS funding

will also diminish or halt the California State Library’s programs “targeted to seniors,

veterans and English learners” and services to the “blind and visually impaired.” Id.

¶ 31.    Maryland’s state-operated Banneker-Douglass-Tubman Museum delayed

portions of an archaeological project because of the uncertainty surrounding IMLS

funding. ECF No. 3-13 ¶¶ 9, 14.

        For Maryland’s Entrepreneurial Development and Assistance Center, the

delay or loss in MBDA funding will halt: (1) “essential programs” such as

“entrepreneurship education” and “one-on-one business guidance,” and (2) “access to

resources like the content library for continued learning.” ECF No. 3-16 ¶ 12.

Baltimore MBDA Advance Manufacturing Center—which provides comprehensive

technical assistance to help minority manufacturing businesses adopt innovative

technologies and business methodologies—will suffer “immediate service impacts”

related to such technical assistance if there is a pause in MBDS funding. ECF No. 3-

12 ¶¶ 9, 16.

        University of Wisconsin System Office of Business & Entrepreneurship will

have to “cancel any upcoming training and accelerator services for participants

already enrolled and expecting these services” due to termination of MBDA grant

award. ECF Nos. 3-37 ¶ 23; 45-2 at 4. The University of Hawai‘i Maui College—

which receives MBDA funding to provide entrepreneurship training to students—will

have to eliminate “training courses, coaching and mentoring support services, and

curriculum development” and will lose “three grant program staff” due to the




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termination of their MBDA grant. ECF Nos. 3-11 ¶¶ 13, 20; 45-4 at 2. Arizona’s

MBDA Business Center will close due to the termination of their MBDA grant and

therefore will no longer provide pertinent services to Arizona businesses that aided

in access to capital, access to markers, and market research. ECF No. 45-3 ¶¶ 1, 4.

Further, the Center will have to terminate ten employees and release twenty

contractors without notice. Id. ¶ 5.

      As to the FMCS, the Defendants do not dispute that the agency has completely

stopped their public sector services. And it is undisputed that the States often rely

on FMCS for their conciliation and mediation services to resolve public sector labor

disputes. Such services are not easily replicable. To start, the use of FMCS’s services

is embedded in some states’ laws, see, e.g., ECF No. 3-26 ¶ 6 (New Mexico), and forty-

two states have collective bargaining agreements with specific provisions that either

allow or mandate the use of FMCS’s services “in labor-management relations.” See

ECF No. 3-39 ¶¶ 7-8. And States opt to request FMCS’s assistance because it is a

well reputed, trustworthy, experienced neutral entity that is fluent in providing

services that are “critical for resolving labor disputes” and “promot[ing] confidence in

the decision-makers and the dispute resolution process.” ECF No. 3-14 ¶ 10; see ECF

No. 3-26 ¶¶ 18, 22 (describing FMCS mediators as “exceedingly competent and well-

trained” and noting that New Mexico will not be able to replace FMCS’s services “in

the near or medium term”). FMCS’s mediation services have been critical in averting

prolonged labor disputes which posed significant disruption to essential services such

as transportation, healthcare, and child welfare. See ECF Nos. 3-30 ¶¶ 11-13; 3-32




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¶ 13.    And the record shows that circumscribing FMCS significantly reducing

personnel and ceasing their core public sector and grievance programs has set the

stage for ongoing and imminent harms.

        For example, the New Mexico Public Employee Labor Relations Board had

eight pending cases at the time the Reduction EO was issued in which the parties

“hoped to obtain FMCS mediation services” due to the lack of other services that not

only could provide mediation for free or a reduced fee but also supply the specialized

substantive knowledge on labor relations that FMCS mediators possessed. ECF

No. 3-26 ¶¶ 21-22. Additionally, the Associated Federation of State County and

Municipal Employees, AFL-CIO (“AFSCME”)—a private and public sector union that

uses FMCS for handling grievances concerning the States’ public employees—

attested to having multiple pending mediations in which the parties were using

FMCS services. See ECF No. 3-39 ¶¶ 9, 20-22. But the abrupt layoff of FMCS

personnel due to the Reduction EO, prompted “the immediate cessation of all FMCS

assistance in the mediation of labor management dispute in the public and private

sector.” Id. ¶ 23. Now, AFSCME unions representing public sector employees in the

States must “find and utilize other more costly and time expansive method to resolve

disputes,” and labor disputes that are “more likely to result in work disruptions” with

this discernable path to mediation now gone. Id.

        In Illinois, a school district spent five months working with an FMCS mediator

for a negotiation impasse in a labor dispute until those mediation services abruptly

stopped after the issuance of the Reduction EO. ECF No. 3-26 ¶ 8.b n.1. Now, the




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affected union has issued an intent to strike if the labor dispute is not resolved by

early April, id., and it is unclear whether such disputes have been resolved. In Rhode

Island, the United Nurses & Allied Professionals (UNAP) and Brown University

Health was assigned a FMCS mediator after the parties reached a negotiation

impasse relating to new collective bargaining agreements for about 2,5000 healthcare

workers employed at the state’s only Level One Trauma Center—Rhode Island

Hospital. ECF No. 44-2 ¶¶ 8-10. That assigned mediator appeared at the first

session, but before the session began the mediator informed the parties that he was

no longer able to mediate the parties’ negotiation because he was placed on

administrative leave under the Reduction EO.        Id. ¶ 11.   The UNAP collective

bargaining agreement with Brown University Health has now expired and the loss of

FMCS’s mediation services has “dramatically increased the risk of an imminent work

stoppage—with life-and-death consequences—at the busiest medical center in the

region.” Id. ¶ 15.

      These are just a few key examples of how the implementation of the Reduction

EO at IMLS, MBDA, and FMCS has disrupted numerous critical state library and

museum services and programs, impeded the resolution of time-sensitive labor

disputes involving State entities, and curtailed broad-ranging training, consultation,

and technical assistance services and programs that facilitate the growth of minority

business enterprises. Accordingly, the Court finds that the States have established

a likelihood of success on their claims of irreparable harm arising from the

Defendants’ actions here.




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          D. Balance of the Equities and Public Interest

          The final two preliminary injunction factors—balance of the equities and

public interest—“merge when the Government is the opposing party.”             Nken v.

Holder, 556 U.S. 418, 435 (2009). When weighing these factors, the Court “must

balance the competing claims of injury and must consider the effect on each party of

the granting or withholding of the requested relief ... pay[ing] particular regard for

the public consequences” that would result from granting the emergency relief

sought. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (quotation marks

and citations omitted). Here, the two factors weigh strongly in favor of equitable

relief.

          The States have set forth a plethora of injuries that would arise if the Court

does not grant injunctive relief. See supra Section III.C. On the flip side, the

Defendants assert that granting the injunctive relief the States request would

“effectively disable several federal agencies, as well as the President himself, from

implementing the President’s priorities consistent with their legal authorities.” ECF

No. 41 at 37.      They also assert harm from disbursing funds that “may not be

retrievable afterwards.” Id. As the Court explained, the Defendants’ implementation

of the Reduction EO has effectively usurped Congress’s lawmaking and spending

authority—without constitutional or statutory authority permitting them to do so.

And there is “generally no public interest in the perpetuation of unlawful agency

action.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Thus,

the Court finds that “there is no competing harm to the government with the issuance




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of preliminary relief that orders compliance with governing statutes and the

Constitution.” Widakuswara II, 2025 WL 1166400, at *17. In fact, the “substantial”

public interest lies “‘in having governmental agencies abide by the federal laws that

govern their existence and operations.’” Newby, 838 F.3d at 12 (quoting Washington

v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). Thus, the Court finds that these final

two factors weigh in favor of granting a preliminary injunction.

      E. Bond

      Federal Rule of Civil Procedure 65(c) provides that a court may issue a

preliminary injunction if “the movant gives security in an amount that the court

considers proper to pay the costs and damages sustained by any party found to have

been wrongfully enjoined or restrained.” But that rule “has been read to vest broad

discretion in the district court to determine the appropriate amount of an injunction

bond, including the discretion to require no bond at all.” Woonasquatucket River

Watershed Council v. U.S. Dep’t of Agric., No. 1:25-CV-00097-MSM-PAS, 2025 WL

1116157, at *24 (D.R.I. Apr. 15, 2025) (citations omitted). Generally, “[a] bond ‘is not

necessary where requiring [one] would have the effect of denying the plaintiffs their

right to judicial review of administrative action.’” Nat’l Council of Nonprofits v. Office

of Mgmt. and Budget, No. 25-239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25,

2025) (quoting Nat. Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C.

1971)).

      Here, the Defendants request that the Court impose a bond against the States

that is “commensurate with the scope of any such order.” ECF No. 41 at 37. The




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Defendants assert that the States are seeking “the disbursement of grant funds” and

thus the Court should order them to post a bond equal to the size of “any payment

that the Court orders on a preliminary basis” because without such a bond, “there

may be no way to recover the funds lost to United States taxpayers if the Court were

later to find that the Defendants were ‘wrongfully enjoined.’” Id. But requiring the

States to pay a bond equal to the grant disbursements at issue would impose a

significant financial barrier to their ability to raise these challenges to the

Defendants unlawful decisions withholding these grant disbursements. The States

have attested that they would need to cut or terminate critical services and lay off

staff because of such a loss of federal funding. See, supra Section III.C. Thus,

requiring them to pay a bond in an amount equal to that loss of federal funding—via

withheld grant disbursements—would impose the same imminent harm that this

preliminary injunction aims to avoid and thus, would deny the States’ right to judicial

review here. Nat’l Council of Nonprofits, No. 25-239 (LLA), 2025 WL 597959, at *19

(D.D.C. Feb. 25, 2025).

      Nor has the Government shown that it would be unable to recover any funds

disbursed because of the injunctive relief entered here. Such a claim is dubious

considering that “the Government has various legal mechanisms to recoup these

kinds of funds.” California, 145 S. Ct. at 974 (Jackson, J., dissenting); see, e.g., 2

C.F.R. § 200.346; see also 2 C.F.R. § 3187.2 (indicating that “the Uniform

Administrative Requirements, Cost Principles, and Audit Requirements for Federal




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Awards set forth in 2 CFR part 200 shall apply to awards from funds appropriated to

[IMLS].”). Accordingly, the Court declines to impose a bond against the States.

IV.   PRELIMINARY INJUNCTION5

      For all these reasons, the Court finds based on the record evidence before it

that a preliminary injunction is appropriate and necessary. The States shall prepare

and submit to the Court a preliminary injunction form order, after consultation with

the Defendants.

      Additionally, because of the finding of likelihood of success by the States and

the large-scale irreparable harm that would occur without the preliminary injunction,

the Court DENIES the Defendants’ request to stay this Order for seven days. See

ECF No. 41 at 38.



IT IS SO ORDERED.



/s/ John J. McConnell, Jr.
John J. McConnell, Jr.
Chief Judge
United States District Court

May 6, 2025




      5  This Order binds Defendants’ officers, agents, employees, attorneys, and
other persons who are in active concert or participation with anyone described in Rule
65(d)(2)(A) or (B). Fed. R. Civ. P. 65(d)(2).

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